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                                                  Assigned To : Judge Harvey, G. Michael
                                                  Assign. Date : 9/12/2022
                                                  Description: Complaint w/ Arrest Warrant
                                   STATEMENT OF FACTS


        Your affiant,             , is a Special Agent with the Federal Bureau of Investigation
(“FBI”) assigned to the Washington Field Office. As a Special Agent, I am authorized by law or
by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws. I have been a Special Agent since February
2019, in which time I have investigated several violations involving international terrorism,
domestic terrorism, and violent crimes against children. I have a Bachelor of the Arts Degree in
Economics from Northwestern University, a Master of Business Administration from Old
Dominion University, and I am a graduate of the FBI Academy in Quantico, Virginia where I
received extensive training in federal law. As part of my duties, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. I am currently involved
in the investigation of Joseph Brody, Paul Lovley, Jon Lizak, Gabriel Chase, and Thomas Carey.
I have personally participated in this investigation and have witnessed many of the facts and
circumstances described herein. The facts in this statement of facts come from my personal
observations, my training and experience, and information obtained from other agents and
witnesses.

                        Background on January 6, 2021 Capitol Riots

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows


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and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                                Facts Specific to These Defendants

        The FBI is investigating a group of at least 5 individuals who traveled together and
participated in the riot at the Capitol on January 6, 2021: Joseph Brody (“Brody”) of Springfield,
Virginia; Paul Lovley (“Lovley”) of Baltimore, Maryland; Jon Lizak (“Lizak”) of Cold Spring
Harbor, New York; Thomas Carey (“Carey”) of Cold Spring Harbor, New York; and Gabriel
Chase (“Chase”) of Gainesville, Florida. These individuals communicated before the riot at the
U.S. Capitol on January 6, 2021, traveled from various locations throughout the East Coast of the
United States on or around January 5, 2021, gathered together and traversed Washington, D.C. on
January 6, and eventually unlawfully entered the Capitol building together.

        Brody, Lizak, Lovley, Chase, and Carey entered the U.S. Capitol as a group. CCTV
footage captured the group moving throughout the building, multiple levels, and several corridors
and rooms. They remained in the U.S. Capitol, enabling the disruption of U.S. Congressional
proceedings along with other rioters, for over 30 minutes. All five individuals entered the Speaker
of the House Nancy Pelosi’s Office. Brody entered the floor of the U.S. Senate Chamber, where
the members of the Senate would hear objections to the certification as part of the process for the
Electoral College vote to certify the President of the United States. While there he filmed and/or
photographed the desks of U.S. Senators.
         After exiting the U.S. Capitol, rather than leave the vicinity of U.S. Capitol restricted area,
the group proceeded to the North end of the building and witnessed in close proximity the
attempted breach of an exterior door located there (the “North Door”). Brody assisted another
rioter in using a metal barricade against a Capitol Police officer, knocking the officer back as he
attempted to secure the North Door. Brody’s associates watched as he assaulted this law
enforcement officer. The group then watched the destruction of media equipment, which had been
surrounded by metal barricades. While there, both Brody and Chase participated in the destruction.
Brody appeared to damage a corded phone, and Chase appeared to loot a pair of headphones.
Lovley joined the circle and filmed the looters and rioters.




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                                    Identification of the Subjects

       The five subjects can all be seen on the CCTV screenshot below from the Senate Wing
Door of the Capitol at approximately 19:16:30 Coordinated Universal Time1 (“UTC”), or 2:16 PM
ET, when the group first entered the building.




        Paul Lovley

       Lovley is a white male with medium-long blonde hair who wore a brown-colored hooded
jacket with light-colored trim with the hood up, khaki pants, dark-colored shoes, and a light-blue
colored surgical mask. He is circled in orange in the above CCTV screenshot, and throughout the
remainder of this affidavit.

        Shortly following the events which occurred at the U.S. Capitol, law enforcement served a
search warrant to United States telecommunication providers seeking cellular site and data records
to a geographic area including the interior of the Capitol. Based on data provided, law enforcement
determined a mobile device associated with Verizon telephone number XXX-XXX-9728 (“Lovley
Phone 9728”) and “pillslovley@gmail.com” was present at the U.S. Capitol on January 6, 2021.
In particular, Google location data showed that a device associated with Lovley Phone 9728 and
“pillslovley@gmail.com” was inside the U.S. Capitol restricted area at multiple times and
locations that day. For example, Google location data captured at 2:18:42 p.m. EST indicated the




1
 For the purposes of aligning times displayed screen captures taken of Capitol CCTV cameras, coordinated
universal time (“UTC”) was utilized. On January 6, 2021, UTC was (+5) hours of eastern standard time.
This would make the subjects’ approximate entry into the Capitol 2:16 PM. The remainder of this affidavit
will utilize Eastern Time to describe relevant time periods.

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device was inside the Capitol building in the immediate vicinity of the Senate Wing Door on the
first floor, which is corroborated by the CCTV footage detailed above.2

        According to law enforcement database queries, Lovley Phone 9728 was associated with
Paul Lovley, who resided in Halethorpe, Maryland. Business records provided by Verizon
revealed that the subscriber for Lovley Phone 9728 was a woman with the same last name residing
at an address in Lake Forest, California. The data revealed Lovley was previously associated with
this Lake Forest address. According to Verizon records received through legal process, Lovley
Phone 9728 is part of a family account primarily owned by Lovley’s mother.

       According to business records provided by Google via legal process, the owner of the
Google Pay account associated with “pillslovley@gmail.com” was Paul Lovley at the Lake Forrest
address. The recovery phone number associated with “pillslovley@gmail.com” was Lovley Phone
9728. According to business records provided by Verizon FIOS via legal process, the internet
subscriber at the address in Halethorpe, Maryland, is “Paul Lovley,” using Lovley Phone 9728.

       Law enforcement has conducted surveillance of Lovely as well. In April 2022, law
enforcement observed who appeared to be Lovely taking out the trash at his suspected residence
in Halethorpe, Maryland. They confirmed he appeared to match the characteristics of the
individual in the photographs and surveillance videos on January 6, 2021.

       Additionally, law enforcement reviewed the California Department of Motor Vehicles
(“DMV”) photograph associated with “Paul Ewald Lovley.” FBI employees compared the
photograph to other open-source images of the subject circled in orange and found the individuals
to possess similar physical characteristics.

      Based on the aforementioned facts, your affiant reasonably believes the subject in the
brown-colored jacket and circled in orange in this affidavit to be Paul Lovley.

        Joseph Brody

         Brody is a white male with dark-colored short hair who wore, among other things: a light,
charcoal suit with an American flag lapel pin, a striped tie, and a neck gaiter sewn in an American
Flag pattern. He is circled in red in the above CCTV screenshots and throughout the remainder of
this affidavit.

        On May 18, 2021, a search warrant was issued to Google targeting certain selectors, which
included the above-mentioned account, pillslovley@gmail.com. The data provided indicated that
on January 5, 2021, at approximately 10:57 PM, the PayPal account for “pillslovley@gmail.com”
paid the Arbutus, Maryland Domino’s Pizza $84.72. 3 A few minutes later, Lovley received three

2
  Google estimates device location using sources including GPS data and information about nearby Wi-Fi
access points and Bluetooth beacons. This location data varies in its accuracy, depending on the source(s)
of the data. As a result, Google assigns a “maps display radius” for each location data point. Thus, where
Google estimates that its location data is accurate within 10 meters, Google assigns a “maps display radius”
of 10 meters to the location data point. Finally, Google reports that its “maps display radius” reflects the
actual location of the covered device approximately 68% of the time.
3
  PayPal is a widely-used banking and peer to peer payment application.

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Venmo payments from display names “Gabe Chase,” “Jon Lizak,” and “Thomas Carey.”4 FBI
employees reviewed the uniform resource links of the transactions contained with the emails. The
links contained embedded information of what appeared to be the Venmo user identification
numbers of “Gabe Chase,” “Jon Lizak,” and “Thomas Carey,” and the individual transaction
identification numbers. Additionally, another Venmo payment email contained URL embedded
information of a Venmo user with the display name “Broseph Broseph” and associated user
identification number.

        Legal process was then served to Venmo targeting the above Venmo user identification
numbers and transaction identification numbers.       Analysis found the Venmo account
pillslovley@gmail.com conducted financial transactions with Venmo user “Joe Brody,” and
username Broseph14. The account was associated with email address joebrody14@gmail.com
and the number XXX-XXX-1372 (“Brody Phone 1372”). Cellular site and data records provided
to law enforcement also confirmed that the Brody Phone 1372 was within the referenced
geographic area on January 6, 2021.

        Law enforcement conducted a review of law enforcement, Virginia DMV, and commercial
database queries on Brody and Brody Phone 1372. It identified a “Joseph Brody,” residing in
Orange Plank Road, Springfield, Virginia. Investigating agents also compared the driver’s license
photograph to other open-source media content and found the images of the individual to have a
strong visual resemblance. Your affiant reviewed the photograph found on Brody’s driver’s
license photograph issued by the Virginia DMV and assessed Brody to have a strong visual
resemblance to the individual in screen capture below, taken from open-source documentation of
January 65 as U.S. Capitol CCTV footage.




4
    Venmo is a widely-used peer to peer payment application.
5
    See https://www.jan6attack.com/individuals/suitguy/ (downloaded July 13, 2021).

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        Law enforcement has conducted surveillance of Brody at his residence and place of
employment. On multiple occasions as recently as September 2, 2022, law enforcement conducted
surveillance of him at his suspected residence in Springfield, Virginia, observed who appeared to
be him, and confirmed he appeared to match the characteristics of the individual in the photographs
and surveillance videos on January 6, 2021.

       Based on these aforementioned facts, your affiant has a reasonable belief the suit-wearing
individual detailed and circled in red throughout this affidavit is Joseph Brody.

       Jon Lizak

         Lizak is a white male with medium-long dark-colored hair, standing slightly taller than the
rest of the group, who wore a dark-colored button-up shirt, white-colored puffy winter jacket with
a fur-trimmed hood, dark-colored pants, a red baseball-style cap with white letters, and a dark-
colored neck gaiter pulled over half of his face. He is circled above in green, standing directly to
the left of Brody in the screenshot, and throughout the remainder of this affidavit.

       FBI employees conducted open-source research on “Jon Lizak” and discovered a social
media profile with a display name of “Jon Lizak.” The profile contained photographs of an
individual who possessed similar physical characteristics to one of the individuals captured in the
various screen captures within this affidavit.

       The social media profile listed the individual’s high school as “Cold Spring Harbor Jr./Sr.
High School.” Further analysis indicated Cold Spring Harbor is located within the state of New
York. Law enforcement, New York DMV, and commercial database queries identified a “Jon
Lizak” of Cold Spring Harbor New York.

        The Venmo data revealed an account holder with the name “Jon Lizak” and phone number
XXX-XXX-6587 (“Lizak Phone 6587”). Law enforcement and commercial database queries were
performed on Lizak Phone 6587. The queries found an association with Lizak Phone 6587 and a
“Jon Lizak” of Cold Spring Harbor, New York. FBI employees compared Lizak’s New York
DMV photograph to open-source images and CCTV footage and found the individual to possess
similar physical characteristics to the subject circled in green. Furthermore, cellular site and data
records indicated Lizak Phone 6587 was within the referenced geographic area on January 6, 2021.

        Law enforcement has also conducted physical surveillance of Lizak at his new residence
is Huntington, New York, as recently as August 31, 2022. There, law enforcement observed who
appeared to be him driving away from the his residence, get out of the vehicle, and enter a separate
location. Law enforcement confirmed he appeared to match the characteristics of the individual
in the photographs and surveillance videos on January 6, 2021.

       Based on the aforementioned facts, your affiant has a reasonable belief the individual
wearing a white coat and detailed and circled in green throughout this affidavit is Jon Lizak.


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       Gabriel Chase

        Chase is a white male with dark-colored hair, who wore a dark-colored long-sleeve jacket
with white stripes along the sleeves, dark-colored pants, a red baseball-style cap, and a dark-
colored neck gaiter pulled over half of his face. He is circled above in blue, standing directly to
the right of Brody in the screenshot, and throughout the remainder of this affidavit.

       Legal process was served to Venmo, and a review of the legal production found phone
number XXX-XXX-2958 (“Chase Phone 2958”) was associated with “Gabe Chase.”
Additionally, cellular site and data records provided to law enforcement also confirmed that the
Chase Phone 2958 was within the referenced geographic area on January 6, 2021.

        Legal production identified Chase Phone 2958 was subscribed to a possible relative
(“RELATIVE 1”) of Chase residing at an address in Gainesville, Florida. The individual’s name
and address in Gainesville, Florida were associated with Chase based on database records reviewed
by law enforcement. Investigators reviewed Florida DMV records and identified a Gabriel Warren
Chase residing in Gainesville, Florida. Gabriel Warren Chase of Gainesville, Florida had
emergency contacts listed in his DMV records. One of the emergency contacts, although a
different individual, had the same address as RELATIVE 1.

        FBI employees reviewed the social media profile of “Jon Lizak.” The review identified a
profile, display name “Gabe Chase,” which had “liked” one of the photographs on Jon Lizak’s
social media profile. Legal process was served to the social media platform. Production revealed
Chase Phone 2958 was registered to the profile with display name “Gabe Chase.”

       Law enforcement conducted physical surveillance of Chase. Surveillance conducted in
February 2022 at the University of Florida in Gainesville, Florida observed who appeared to be
Chase operating a vehicle and then subsequently entering a classroom. Law enforcement
personnel noted the individual possessed similar physical characteristics of the individual in the
photographs and surveillance videos captures on January 6, 2021.

        FBI employees compared Chase’s Florida DMV photograph to open-source images and
CCTV footage and found the individual to possess similar physical characteristics to the subject
circled in blue. Based on the aforementioned facts, your affiant has a reasonable belief the
individual wearing a dark-colored long-sleeve jacket with white stripes along the sleeves, detailed
and circled in blue throughout this affidavit is Gabriel Chase.


       Thomas Carey

       Carey is a white male who stood slightly shorter than the rest of the group, and who wore
a dark-colored hooded jacket with the hood up, a light-blue colored surgical mask, a dark-colored
hat with an orange-colored design on the front and “#MAGA” on the back. He is circled above in
purple, standing two individuals to the right of Brody and directly in front of Lovley in the
screenshot, and throughout the remainder of this affidavit.

     The aforementioned Venmo legal production revealed an account holder with the name
“Thomas Carey” and phone number XXX-XXX-8441 (“Carey Phone 8441”). Additionally,

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cellular site and data records indicate Carey Phone 8441 was within the referenced geographic
area on January 6, 2021.

       As part of their investigation, FBI employees queried law enforcement and open-source
databases. Law enforcement found a social media profile from a person believed to be the mother
of Thomas Carey that contained a picture of what appears to be Thomas Carey, Gabe Chase, and
Jon Lizak together.




       Law enforcement later confirmed that the Carey Phone 8441 identified in the Venmo legal
production was associated with a “Thomas Carey” at an address in Cold Spring Harbor, New York.
A review of New York DMV records also identified a “Thomas Michael Carey” at the same
address in Cold Spring Harbor, New York. FBI employees compared Carey’s New York DMV
photograph to open-source images and CCTV footage and found the individual to possess similar
physical characteristics to the subject circled in purple.

        Law enforcement has also conducted physical surveillance of Carey at his residence in
Pittsburgh, Pennsylvania. On September 1, 2022, law enforcement observed who appeared to be
Carey leaving his apartment building. Law enforcement confirmed he appeared to match the
characteristics of the individual in the photographs and surveillance videos on January 6, 2021.




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       Based on the aforementioned facts, your affiant has a reasonable belief the individual
wearing a dark-colored hooded jacket with the hood up, and a dark-colored hat with an orange-
colored design detailed and circled in purple throughout this affidavit is Thomas Carey.

                                   The Breach of the Capitol

       On January 6, 2021, the group moved throughout the Capitol and grounds, including
through Congressional offices, the Rotunda, third floor hallways, and various other restricted
areas.

        CCTV footage recorded the group ascending the stairs to the upper terrace on the west side
of the exterior of the Capitol at approximately 2:14 PM. This occurred approximately two minutes
prior to their initial entry into the Capitol. Screenshots below show Brody, Lizak, and Chase
ascending the Upper Terrace West stairs among other rioters.




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       CCTV footage then captured Brody, Lovley, Lizak, Carey, and Chase unlawfully entering
the Capitol from the Senate Wing Door near room S139 at around 2:16 PM.




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       The group of subjects proceeded north from the Senate Wing Door hallway. The subjects
were then captured on CCTV footage near the Northern Appointment Desk, as seen below, at
approximately 2:16:45 PM. The group then alters direction and turns back toward the Senate Wing
Door.




        CCTV footage captured the subjects moving south through the Senate Wing Door hallway
again, seen below, at approximately 2:18:04 PM. Based on the location of the CCTV camera, and

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the movement of the subjects, it appeared the subjects were moving toward a room in the Capitol
known as the Crypt.




       Your affiant reviewed open-source media recorded by a member of the public
(“CREATOR 1”), which captured the subjects in the Crypt.6 Based on the subjects’ movement
and the relevant timestamps on the CCTV footage, the subjects appear to have entered the Crypt
at approximately 2:20:00 PM. CREATOR 1’s video captured the subjects loitering within the
Crypt. Screenshots from CREATOR 1’s open-source video are below and show the subjects
moving through the Capitol among a crowd of other rioters.




6
 See video entitled “Patriots Storm Congress Raw Footage Includes Execution of Ashli Babbitt”
accessible at https://theresistance.video/watch?id=5ff6857e00bac0328da8e888 (downloaded August 19,
2021).

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        After a few minutes, the crowd within the Crypt pushed past law enforcement personnel
and proceeded south into a room containing busts of historical figures, known as the “Corridor of
Honorary Citizens.” CCTV footage recorded the group moving with the crowd through this room
at approximately 2:26:48 PM, as seen in the below screenshot.




        The subjects were seen moving with the crowd down the hallway before leaving the view
of the camera. As the crowd progresses, CREATOR 1 panned his or her recording device to the
left and right and captured several offices, including “Office of the Clerk,” and “Office of the
Majority Leader | Steny H. Hoyer.” CREATOR 1 continued along the hallway before abruptly

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turning around and moving with the crowd in a northern direction back toward the Crypt. The
subjects are recorded loitering in the hallway described above. The group is highlighted below in
screenshots of CREATOR 1’s video.




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       Both CCTV footage and CREATOR 1’s video recording showed the subjects rejoining the
movement of the crowd and moving in a direction toward the Crypt. At approximately 2:29:22
PM, CCTV footage of the House Wing Door simultaneously captured the subjects loitering at the
described location, as seen in the red box below.




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        CREATOR 1’s video then shows the group reentering the Crypt and entering a room
containing a spiral stairwell. The subjects ascend the stairwell, and the crowd can be heard
chanting the words, “NANCY! NANCY! NANCY!” At the top of the stairwell, the subjects
continue forward and enter a small atrium, which displayed a plaque reading, “Speaker of the
House | Nancy Pelosi.” CREATOR 1’s video panned away just as the group disappeared into one
of the rooms branching off from the Speaker’s atrium.




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       Your affiant reviewed a video (“VIDEO 1”) recorded on a mobile device who entered
Speaker Pelosi’s Office. VIDEO 1 pans up and captured the plaque identifying the Speaker of the
House’s Office. After entry, VIDEO 1 captured the members of the group within the office as
highlighted in the below screen captures.




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       CCTV footage captured the subjects then exiting Room H230 into a hallway at
approximately 2:35:40 PM. According to Capitol Police, at the time, Room H230 was Speaker of
the House Nancy Pelosi’s Conference Room. As the subjects exited Room H230, Brody was seen
removing an American flag from its stand. Lovley appeared to communicate something to Brody,
and then Brody replaced the flag in its holder. The subjects exit the immediate vicinity of Room
H230 and were captured concurrently on CCTV proceeding down the H227 Hallway at
approximately 2:35:50 PM.




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        At approximately 2:36:44 PM, CCTV footage captured the subjects entering the Rotunda.
The group loitered within the Rotunda for several minutes. The subjects are highlighted in red
box in the below CCTV screenshot surrounded by other rioters. As seen in one screenshot, Brody
appeared to be using a mobile device to photograph or record the interior of the Rotunda.




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       Similarly, CREATOR 1’s video captured the group within the Rotunda. The subjects can
be seen in their color-coded circles in the below screenshot.




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        At approximately 2:38:58 PM, the group then departed the east side of the Rotunda together
and remained just outside of the Rotunda for several minutes. In the below screenshots, they are
either circled in their respective colors or boxed in red.




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       At approximately 2:41:28 PM, while the group was loitering outside of the Rotunda, Carey
stood next to the Rotunda Lobby East Stairs and utilized what appeared to be a mobile device.
Carey and the lit-up mobile device are outlined in purple below.




       At approximately 2:42:23 PM, after departing the vicinity of the Rotunda, the group of
subjects marched together and ascended the House Gallery Stairs to the third level of the Capitol,


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where they then proceeded through the Senate East Corridor near room S306. The subjects are
circled or boxed in the CCTV footage screenshots below.




      At approximately 2:44:30 PM, the group entered the Senate Gallery southeast area near
room S309, as seen in the below CCTV footage screenshots.




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        The subjects then continued marching with other rioters and passed room S309 at
approximately 2:44:48 PM. They proceeded to the Senate Chamber and stopped outside of the
doors labeled respectively as Secretary of the Senate’s Office and the Senate Gallery Door Number
1. The group exited this area at approximately 2:46:00 PM, and they are seen either circled or
boxed in the below CCTV footage screenshots.




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        The Senate Chamber—where part of the Joint Session for the Electoral College
Certification vote would normally have been taking place, in accordance with 3 U.S.C. 15, and the
12th Amendment to the U.S. Constitution—was instead filled with rioters. Brody broke off from
his group of associates and entered the Senate Chamber, where his actions were captured by several
Senate Recording Studio cameras.

       Brody entered the Senate Chamber at around 2:49:00 PM ET. While in the Chamber,
Brody appeared to hold a cell phone in his hand and photograph or record the interior of the Senate

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Chamber—to include documents or other information on and inside several desks. Brody’s actions
on the Senate Chamber Floor are shown in the below Senate Recording Studio screenshots, where
Brody and his cell phone are boxed in red.




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         Legal process was served to Verizon on or about July 28, 2021, on Brody Phone 1372.
Responsive information from Verizon confirmed Brody received two phone calls at approximately
2:50:04 PM and 2:50:36 PM. According to legal process, Chase and Lizak made the two phone
calls to Brody, respectively.




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         Brody exited the Senate Chamber at approximately 2:50:40 PM while receiving the second
phone call from Lizak. The Senate Recording Studio captured Brody engaging in the two phone
calls, as seen in the below screenshots where Brody and his cell phone are boxed in red.




       Open-source videos and photographs also capture Brody on the Senate Chamber Floor.
Following the Capitol attack on January 6, 2021, the media publication, The New Yorker, posted
a video to an online social media platform titled, “A Reporter’s Footage from Inside the Capitol




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Siege | The New Yorker.”7 The video memorialized many of the events which took place within
the Capitol. A portion of this video captured individuals entering the Senate Chamber, and Brody
can be seen squared in red in the below screenshot, surrounded by other rioters breaching the
Senate Chamber Floor.




         While Brody breached and remained in the Senate Chamber, the four remaining subjects—
Chase, Lizak, Lovley, and Carey—remained outside of the Senate Chamber. These four subjects
were captured on CCTV footage in the vicinity of the Upper Senate Door Elevators at
approximately 2:48:26 PM. The group of four appeared to approach the Upper Senate Door and
then reversed direction and passed the Upper Senate Door Elevators again at approximately
2:48:42 PM. The four subjects are captured in the below CCTV footage screenshots and circled
in their respective colors.




7
 The New Yorker, “A Reporter's Footage from Inside the Capitol Siege | The New Yorker.” https://
www.youtube.com/watch?v=270F8s5TEKY. (downloaded on July 22, 2021).

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        Finally, at approximately 2:50:00 PM, the group begins to exit the Capitol—one at a time—
through the Senate Carriage Door. Carey exited the building at approximately 2:50:08 PM,
followed by Lovley and Chase at approximately 2:50:20 PM. Of note, Chase appeared to be
communicating on a mobile device. The time of this phone call appears to be consistent with the
legal process detailing a phone call Brody received from Chase while Brody was within the Senate
Chamber. Approximately a minute and a half later, at 2:51:40 PM, Brody and Lizak exited the
Capitol. All five subjects’ departures from the Capitol are captured in the below CCTV footage
screenshots, with each subject circled in their respective color.




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Outside the Capitol

      In addition to CCTV footage and open-source media from within the Capitol, a significant
amount of content was also generated outside of the building. Brody, Lovley, Lizak, Carey, and
Chase were all captured in CCTV footage and open-source videos and photographs on the Capitol
grounds and inside the restricted area on January 6, 2021.

        At approximately 2:51:39 PM, CCTV footage captured Brody and Lizak—the last two
subjects of the group inside—exiting the Capitol. The group of subjects then travel from the Senate
Carriage Door to the North Screening Entrance. The subjects are circled in their respective colors
in the below CCTV footage screenshots.




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        The group of subjects were also captured together in open-source materials showing them
on the east side of the Capitol.8 As seen in the below screenshot, Carey, Lovley, Lizak, Chase,
and Brody (from left to right) are standing together and wearing the same clothes and neck gaiters
they are seen wearing inside the Capitol.




       Eventually, the subjects moved to the north side of the Capitol. There, an open-source
video captured Brody lifting a metal barricade and appearing to use it to obstruct or assault a law
enforcement officer by pushing it up over a concrete station and against a law enforcement officer
attempting to address the crowd of rioters with what appears to be fire-extinguisher retardant or
chemical-irritant spray.9 Chase (circled in blue), Lovley (circled in orange), and Lizak (circled in
green) are all standing nearby while Brody (circled in red) lifts a metal barricade up and strikes
the U.S. Capitol Police (“USCP”) Officer above him.




8
  See video entitled "[youtube] January6 Rally Interviews at Capitol Last One Promise in Washington DC
2021" accessible at https://capitol-hill-riots.s3.us-east-1.wasabisys.com/directory.html (downloaded July
23, 2021).
9
  See https://www.jan6attack.com/individuals/suitguy/ (downloaded July 13, 2021).

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        FBI Special Agents identified and interviewed the USCP Officer (“USCP 1”) depicted in
the photographs. USCP 1 identified himself as the officer in the photograph. USCP 1 said he used
a fire extinguisher in an attempt to disperse rioters in order to prevent a breach of the North Door
into the U.S. Capitol building. USCP 1 did not initially recall the exact incident depicted above,
as USCP 1 said he had been struck by similar metal barricades and other objects throughout the
day during various confrontations with rioters. FBI Special Agents showed USCP 1 the open-
source video and USCP 1 agreed he had been pushed back by the metal barricade.

        In another open-source video, Brody can be seen throwing an object toward a set of exterior
doors to the Capitol.10 Below is a screenshot from the open-source video showing Brody, circled
in red, as he reaches back his right arm to throw an unidentified object toward the building’s doors.




        After participating in the attempted breach of North Door into the U.S. Capitol building,
Brody and the group moved to an area in the vicinity of the U.S. Capitol where news media had
set-up broadcasting equipment. Metal barricades had been erected around the equipment. A group
of rioters breached the metal barricade and began destroying and looting the media equipment.
Several open-source videos and images captured this incident, including Brody and his group both
observing and participating in the destruction.

       One open-source video captures a wide-angle view of the group’s participation in the
looting and destruction of the media equipment. Lizak, Lovley, Chase, and Carey are seen
standing off to the right, in the vicinity of the circle of rioters. Brody is seen filming the looters

10
     See https://www.jan6attack.com/individuals/suitguy/ (downloaded July 13, 2021).

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and rioters damaging the media equipment, and then reaches down and picks up what appears to
be a corded phone. Brody rips the handset free from its base and returns to join Lizak, Chase,
Carey and Lovley.




        After loitering briefly, the group then joined the circle crowded around the equipment and
rioters. Chase reaches down and removes from the equipment what appears to be a set of
headphones. Lovley is seen filming the destruction in the same brown-colored, hooded jacket he
is seen wearing in the Capitol. Lizak is wearing the same red baseball hat and white-colored, puffy
winter jacket with a fur-lined hood. Chase is wearing the same red baseball hat and black-colored
jacket with white stripes. Brody enters the circle twice more. He rummages through the equipment,
before aggressively throwing the phone handset back into the equipment pile and removing another
unknown item. The below images reflect this.111213




11
   See “US Capital building Main Stream Media equipment destroyed,
https://www.youtube.com/watch?v=rnGXNnHQfms (downloaded on August 23, 2021).
12
   See US CAPITOL UNDER SIEGE TO #STOPTHESTEAL,
https://www.youtube.com/watch?v=WmV_7W4em5A (downloaded on August 23, 2021).
13
   See https://www.jan6attack.com/individuals/suitguy/ (downloaded July 13, 2021).

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                                 Previous Contacts Among Subjects

        Open-source materials further reveal that at least Lovley, Lizak, and Chase have
previously traveled together for events in Washington, D.C. The first event was the “Stop The
Steal, March for Trump” rally at Freedom Plaza, Washington, D.C., on November 14, 2020.
Lovley, Lizak, and Chase can be seen in an open-source video with their faces unobstructed by
masks or neck gaiters and with what appears to be the same clothing they were seen wearing in
videos January 6, 2021.14




14
  See, 2 minutes and 21 seconds in the video entitled, “[youtube] Million MAGA March Rally
Washington D.C. - Supreme Court Rally (Part 02) (November 14th, 2020)-RCmm6fRir38.mkv,” at
https://capitol-hill-riots.s3.us-east-1.wasabisys.com/directory.html (downloaded January 16, 2022).

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       In another open-source video from the same event, Lovley can be seen from another angle
using his mobile telephone.15




        Of note, in those videos, Chase is wearing what appears to be the same red hat and black
Adidas jacket with white stripes as he was wearing on January 6, 2021; Lizak is wearing what
appears to be the same dark-blue collared button-down shirt he is wearing under the white-colored,
puffy jacket on January 6, 2021; and Lovley is wearing what appears to be the same brown-colored
jacket with light-colored trim as he was wearing on January 6, 2021, and carrying a mobile phone.

        Additionally, the investigation has shown that Lovely, Brody, Chase, Lizak, and Carey
were associated with a group known as America First. Leadership of America First has espoused
a belief that they are defending against the demographic and cultural changes in America. Lovely,
Brody, Chase, and Lizak initially met at an America First event and attended subsequent events
together. After meeting, they continued to communicate through a social media platform. Carey
traveled with Lovely, Chase, and Lizak and met Brody in Washington, D.C. on January 6, 2021.

                                              Conclusion
        Based on the foregoing, your affiant submits that there is probable cause to believe that
Joseph Brody, Paul Lovley, Jon Lizak, Thomas Carey, and Gabriel Chase violated 18 U.S.C. §
1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice


15
  See, 0:11 seconds in the open-source video found at https://twitter.com/Johnnthelefty/status/13
27688178183114753 (downloaded January 9, 2022).

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President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.
        Your affiant submits there is also probable cause to believe that Joseph Brody, Paul Lovley,
Jon Lizak, Thomas Carey, and Gabriel Chase violated 40 U.S.C. § 5104(e)(2)(D)&(G), which
makes it a crime to willfully and knowingly (D) utter loud, threatening, or abusive language, or
engage in disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol
Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of Congress
or either House of Congress, or the orderly conduct in that building of a hearing before, or any
deliberations of, a committee of Congress or either House of Congress; and (G) parade,
demonstrate, or picket in any of the Capitol Buildings.
        Your affiant submits there is also probable cause to believe that Joseph Brody violated 18
U.S.C. § 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Joint Session of Congress where the Senate and House count Electoral College votes. A civil
disorder means a public disturbance involving acts of violence by assemblages of three or more
persons, which causes an immediate danger of or results in damage or injury to the property or
person of another individual.
        Additionally, your affiant submits that there is also probable cause to believe that Joseph
Brody violated 18 U.S.C. § 111(a)(1), which makes it a crime for anyone to forcibly assault, resist,
oppose, impede, intimidate, or interfere with any United States law enforcement officer while that
officer is engaged in the performance of their official duties, or any person assisting such an officer
or employee in the performance of such duties or on account of that assistance.
        Finally, your affiant submits there is probable cause to believe that Joseph Brody violated 18
U.S.C. § 1512(c)(2), which makes it a crime to obstruct, influence, or impede any official proceeding,
or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.


                                                       _________________________________
                                                       Special Agent
                                                       Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 12th day of September 2022.
                                                                                Digitally signed by G. Michael
                                                       G. Michael Harvey Harvey
                                                                         Date: 2022.09.12 16:36:35 -04'00'
                                                       ___________________________________
                                                       HONORABLE G. MICHAEL HARVEY
                                                       UNITED STATES MAGISTRATE JUDGE

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